                                                              United States Bankruptcy Court
                                                               Northern District of Alabama
In re:                                                                                                                 Case No. 22-82029-CRJ
Gerald Tabb                                                                                                            Chapter 7
Misty Tabb
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 1126-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 01, 2022                                               Form ID: 309A                                                             Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 03, 2022:
Recip ID                Recipient Name and Address
db/jdb                + Gerald Tabb, Misty Tabb, 89 Davistown Rd., Section, AL 35771-7601
tr                    + Judith Thompson, P. O. Box 18966, Huntsville, AL 35804-8966
10994946              + 1st Franklin Financial, Attn: Bankruptcy, 24833 John T Reid Pkwy, Suite 3-B, Scottsboro, AZ 35768-2343
11003211                Carefree Rental, P.O. Box 1418, Mocksville, NC 27028-1418
11003210              + Local Finance, 242 S. Broad St., Scottsboro, AL 35768-1731
10994948             ++ MID ATLANTIC FINANCE, 4592 ULMERTON ROAD, CLEARWATER FL 33762-4107 address filed with court:, Mid-Atlantic
                        Finance Company, 4592 Ulmerton Road, Suite 200, Clearwater, FL 33762
10994960              + Sun Loan, 201 Veterans Dr Ste 105, Scottsboro, AL 35768-2168

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: john@jlarsenlaw.com
                                                                                        Dec 02 2022 00:16:00      John C. Larsen, Larsen Law, P.C., 1733
                                                                                                                  Winchester Rd, Huntsville, AL 35811
smg                    + Email/Text: bnc_notices_northern@alnba.uscourts.gov
                                                                                        Dec 02 2022 00:17:00      Richard Blythe, BA Decatur, P O Box 3045,
                                                                                                                  Decatur, AL 35602-3045
10994950               + Email/Text: caineweiner@ebn.phinsolutions.com
                                                                                        Dec 02 2022 00:16:00      Caine & Weiner, Attn: Bankruptcy, 5805
                                                                                                                  Sepulveda Blvd, Sherman Oaks, CA 91411-2546
10994951               + EDI: CAPIO.COM
                                                                                        Dec 02 2022 04:48:00      Capio Partners, LLC, Attn: Bankruptcy, Po Box
                                                                                                                  3498, Sherman, TX 75091-3498
10994952               + EDI: CCS.COM
                                                                                        Dec 02 2022 04:48:00      Credit Collection Services, Attn: Bankruptcy, 725
                                                                                                                  Canton St, Norwood, MA 02062-2679
10994953               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Dec 02 2022 00:21:57      Credit One Bank, Attn: Bankruptcy Department,
                                                                                                                  Po Box 98873, Las Vegas, NV 89193-8873
10994954               + Email/Text: bknotice@ercbpo.com
                                                                                        Dec 02 2022 00:17:00      Enhanced Recovery Company, Attn: Bankruptcy,
                                                                                                                  8014 Bayberry Road, Jacksonville, FL 32256-7412
10994947                  Email/Text: corporatecredit@farmersfurniture.com
                                                                                        Dec 02 2022 00:17:00      Farmers Home Furniture, Attn: Bankruptcy, Po
                                                                                                                  Box 1140, Dublin, GA 31040
10999294                  Email/Text: corporatecredit@farmersfurniture.com
                                                                                        Dec 02 2022 00:17:00      Farmers Home Furniture, Attn: Corporate Credit
                                                                                                                  Department, P.O. Box 1140, Dublin, GA 31040
10994955               + Email/Text: bankruptcies@foxcollection.com
                                                                                        Dec 02 2022 00:17:00      Fox Collection Center, Attn: Bankruptcy, Po Box
                                                                                                                  528, Goodlettsvile, TN 37070-0528
10994956               + Email/Text: FSBank@franklinservice.com
                                                                                        Dec 02 2022 00:16:00      Franklin Collection Service, Inc., 2978 West
                                                                                                                  Jackson Street, Po Box 3910, Tupelo, MS
                                                                                                                  38803-3910
10994957               + Email/Text: bankruptcyemails@hollowaycredit.com
                                                                                        Dec 02 2022 00:16:00      Holloway Credit Solutions, Attn: Bankruptcy, Po
                                                                                                                  Box 230609, Montgomery, AL 36123-0609




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District/off: 1126-8                                              User: admin                                                             Page 2 of 2
Date Rcvd: Dec 01, 2022                                           Form ID: 309A                                                         Total Noticed: 25
10994958                 Email/Text: sheri@masinc.org
                                                                                   Dec 02 2022 00:16:00     Merchants Adjustment Service, Attn: Bankruptcy,
                                                                                                            56 North Florida St, Mobile, AL 36607
10994959                 Email/Text: bankruptcydocs@osla.org
                                                                                   Dec 02 2022 00:16:00     OSLA/Dept of Ed, Attn: Bankruptcy, Po Box
                                                                                                            18475, Oklahoma City, OK 73154
11003212              + Email/Text: Bankruptcy@redfcu.org
                                                                                   Dec 02 2022 00:17:00     Redstone FCU, Attn: Bankruptcy Dept, 220 Wynn
                                                                                                            Drive, Huntsville, AL 35893-0001
10994949              + Email/Text: enotifications@santanderconsumerusa.com
                                                                                   Dec 02 2022 00:17:00     Santander Consumer USA, Attn: Bankruptcy, Po
                                                                                                            Box 961245, Fort Worth, TX 76161-0244
10994961              + EDI: VERIZONCOMB.COM
                                                                                   Dec 02 2022 04:48:00     Verizon Wireless, Attn: Bankruptcy, 500
                                                                                                            Technology Dr, Ste 599, Weldon Springs, MO
                                                                                                            63304-2225
10994962              + Email/Text: bk@worldacceptance.com
                                                                                   Dec 02 2022 00:17:24     World Finance Company, Attn: Bankruptcy, Po
                                                                                                            Box 6429, Greenville, SC 29606-6429

TOTAL: 18


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 03, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 1, 2022 at the address(es) listed
below:
Name                             Email Address
John C. Larsen
                                 on behalf of Joint Debtor Misty Tabb john@jlarsenlaw.com lori@jlarsenlaw.com;larsenjr86417@notify.bestcase.com

John C. Larsen
                                 on behalf of Debtor Gerald Tabb john@jlarsenlaw.com lori@jlarsenlaw.com;larsenjr86417@notify.bestcase.com

Judith Thompson
                                 judith@al-bk.com AL03@ecfcbis.com

Michele T. Hatcher
                                 ecf@ch13decatur.com treata.shelton@ch13decatur.com;tina.worley@ch13decatur.com


TOTAL: 4




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Information to identify the case:

Debtor 1:
                      Gerald Tabb                                               Social Security number or ITIN:    xxx−xx−2463
                                                                                EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name     Last Name

Debtor 2:             Misty Tabb                                                Social Security number or ITIN:    xxx−xx−6062
(Spouse, if filing)                                                             EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name     Last Name

United States Bankruptcy Court:         NORTHERN DISTRICT OF ALABAMA             Date case filed in chapter:        13     11/16/22
                                                                                 Date case converted to chapter:
Case number:           22−82029−CRJ7                                                                                 7      12/1/22


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                        About Debtor 1:                               About Debtor 2:

1.        Debtor's full name                            Gerald Tabb                                   Misty Tabb

2.        All other names used in the
          last 8 years

3.       Address                                        89 Davistown Rd.                              89 Davistown Rd.
                                                        Section, AL 35771                             Section, AL 35771

4.      Debtor's attorney                               John C. Larsen                                Contact phone 256 859−3008
                                                        Larsen Law, P.C.
        Name and address                                1733 Winchester Rd                            Email: john@jlarsenlaw.com
                                                        Huntsville, AL 35811

5.       Bankruptcy trustee                             Judith Thompson                               Contact phone 256 880−2217
                                                        P. O. Box 18966
         Name and address                               Huntsville, AL 35804

6.       Bankruptcy clerk's office                      400 Well Street                               Hours open: 8:00 a.m. − 4:00 p.m.
                                                        P. O. Box 2775                                Monday−Friday
         Documents in this case may be filed at         Decatur, AL 35602
         this address. You may inspect all                                                            Contact phone 256−584−7900
         records filed in this case at this office or                                                 Date: 12/1/22
         online at https://pacer.uscourts.gov.
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor Gerald Tabb and Misty Tabb                                                                                        Case number 22−82029−CRJ7




7. Meeting of creditors                       January 13, 2023 at 09:00 AM                                               Telephone Conference:
    Debtors must attend the meeting to be                                                                                877−336−1829
    questioned under oath. In a joint case,   The meeting may be continued or adjourned to a later                       Access Code:
    both spouses must attend. Creditors       date. If so, the date will be on the court docket.                         2434017#
    may attend, but are not required to do
    so.
                                              DO NOT COME TO THE COURTHOUSE. This meeting
                                              will take place by telephone only until further notice. At
                                              least five minutes prior to the start of the meeting, dial the
                                              telephone number and enter the access code. There is
                                              no security code. Once connected, please mute your
                                              phone until the case is called and disconnect when
                                              notified your meeting is completed. You are encouraged
                                              to call from a landline if possible from a quiet location. Do
                                              not use a speaker function or place the call on hold.
                                              Debtor(s) is encouraged to contact your attorney prior to
                                              the meeting for more information.

8. Presumption of abuse                       The presumption of abuse does not arise.
    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                  File by the deadline to object to discharge                                Filing deadline: 3/14/23
    The bankruptcy clerk's office must        or to challenge whether certain debts are
    receive these documents and any           dischargeable:
    required filing fee by the following
    deadlines.                                You must file a complaint:
                                               • if you assert that the debtor is not entitled to receive
                                                 a discharge of any debts under any of the subivisions of
                                                 11 U.S.C. § 727(a)(2) through (7),
                                                 or
                                              • if you want to have a debt excepted from discharge under
                                                 11 U.S.C § 523(a)(2), (4), or (6).
                                              You must file a motion:
                                              • if you assert that the discharge should be denied
                                                 under § 727(a)(8) or (9).


                                              Deadline to object to exemptions:                                          Filing deadline: 30 days after
                                              The law permits debtors to keep certain property as exempt. If you         the conclusion of the meeting of
                                              believe that the law does not authorize an exemption claimed, you          creditors
                                              may file an objection.


10. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If it
                                              later appears that assets are available to pay creditors, the clerk will send you another notice telling you that
    Please do not file a proof of claim       you may file a proof of claim and stating the deadline.
    unless you receive a notice to do so.


11. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                              distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                              the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe that the law does not
                                              authorize an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                              receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                   page 2




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